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                            UNITED STATES DISTRICT CO URT
                            SOUTHERN DISTRICT OF FLORIDA

                             CASE NO.:21-20218-CR-SINGHAL


   UNITED STATES O F AM ERICA,

         Plaintiff,

   VS.

   M IGUEL ALEJANDRO ORTIZ,

         Defendant.
                                           /

          ORDER GRANTING CO NTINUANCE AND PRETRIAL INSTRUCTIONS

         THIS CAUSE is before the Courton DefendantMiguelAlejandro Odiz's Motion
   to Continue Trial(DE 2684.Having considered the motion and the reasons advanced
   therein,itis

         O RDERED AND ADJUDGED thatDefendant's Motion to Continue is

   hereby G RANTED.Jury Trialin Courtroom 110 atthe United States Federal

   Building and Courthouse,299 EastBrow ard Boulevard,FortLauderdale,Florida

   33301 during the two-week trialperiod com m encing on July 18,2022 at9:00 A,M .or

   as soon thereafteras the case may be called. CalendarCallwillbe held at9:00 A.M .

   on W ednesday,July 13,2022,atthe sam e Iocation.AIIpre-trialm otions and m otions

   in Iim ine m ustbe filed by July 1,2022.Each pady is Iim i
                                                            ted to filing one m otion in'

   Iim ine'
          ,and,ifthere is m ore than one Defendant,the Defendants shallfile a com bined

   m otion in Iim ine. Motions in limine m ay not,withoutIeave ofthe Court,exceed the page

   Iim its allowed by the LocalRules.
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          ORDERED AND ADJUDGED thatthe Courtfinds,pursuantto 18 U.S.C.j
   3161(h)(7)(A),thatthe endsofjustice served bythis continuance outweighthe best
   interests ofthe Defendantand padies in a speedy trial.

         Accordingly,the period ofdelay resulting from this continuance through the stad

   oftripl- shallbe considered excludable tim e underthe Speedy TrialAct.See 18 U.S.C.

   j 3161.
         Itis furtherO RDERED AND ADJUDG ED as follows:

               The parties shallcom ply with LocalRule 88.5,which requires the filing of

   speedytrialreports everytwenty (20)days hereafteruntilthetime oftrialorplea.
         2,    AIIrequests forw rits ad testificandum m ustbe filed no Iaterthan foudeen

   (14)business dayspriorto the firstday ofthe scheduledtrialperiod.
         3.    AIIresponses pursuantto the Standing Discovery Orderand/orLocalRule

   88.10 shallbe provided in a tim ely fashion in accordance with the dates schedulèd by

   the M agistrate Judge. Noncom pliance with the Standing Discovery O rder,the Local

   Rules,orthe FederalRules ofCrim inalProcedure m ay resultin sanctions. Any notice

   submitted pursuantto FederalRule ofEvidence 404(b)shallnotonly complywith Locai
   Rule 88.10(h),butalso mustinclude a specific factualbasis forthe evidence soughtto
   be introduced.

         4.    To the extent required by Local Rule 88.9, aII m otions shall be

   accom panied by a written statem ent cedifying that counselfor the m oving party has

   conferred with opposing counselin a good fai
                                              th effod to resolve by agreement the

   subjectmatterofthe motion.E-mailcomm unications shallnotbe sufficientto constitute
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   conferral. Counselm ust actually speak to one another,either in person or overthe

   phone,in a good faith effortto resolve theirdisputes priorto filing any m otion.

         5.     Counselshallbe prepared to coqductIim ited voirdire following the Coud's
   questioning ofthe panel. Atany tim e priorto CalendarCall,each party m ay file up to

   five proposed voirdire questions,including sub-parts,forthe Coud to ask ofthe venire.

   The Coud willnotpermi
                       tthe backstriking ofjurors.
         6.     The    padies    shall subm it, in      W ord    form at, via    e-m ail to

   Singhal@ flsd.uscourts.gov,proposed jury instructions, including substantive charges
   and defenses,and a verdict form prior to Calendar Call. For instructions on filing

   proposed documents,please see http://www.flsd.uscourts.gov. A l
                                                                 though they need not

   agree on each proposed instruction, the parties shall submit their proposed jury
   instructions and verdictform jointly. W here the parties do not agree on a proposed
   instruction,thatinstruction shallbe setforth in bold type. Instructions proposed only by

   the Governmentshallbe underlined.Instructions proposed solel
                                                              y by the defense shall

   be italicized. Every instruction m ustbe suppoded by citation to authority.

         7.     Priorto Calendar Call, aIIcounselshallfile Iists of proposed w itnesses

   and/orexhibits to be presented attrial. AlIexhibits to be offered into evidence m ustbe

   pre-labeled in accordance w ith the proposed exhibi
                                                     t Iist. Governm entexhibits shallbe

   designated num erically'
                          ,defense exhibits,alphabetically.

         8.     The deadline for the scheduling of guilty pleas is July 8,2022.See,

   e.g.,United States ?.Gamboa,166 F.3d 1327,1331 (11th Cir.1999)(ci
                                                                   ting United
   Statesv.Ellis,547 F.2d 863,868 (5thCir.1977)).
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           9.    lfany party seeks to introduce transcriptts)atthe trial,that pady shall
   exchange those transcripts with aIIcounselpriorto CalendarCall. Ifa transcriptcannot

   be agreed upon,each party shallbe prepared to produce its ow n version forthe trierof

   fact.

           1O. AIlanticipated JencksAct,18 U.S.C.03500,materialshallbe turned over
   to defense counselno Iaterthan the m orning ofthe firstday oftrial. The m aterialshall

   include a face sheetfordefense counselto sign and date,acknow ledging receipt.

           11.   Upon receipt ofthis Order,counselforeach defendant shallcedify with

   the Coud's courtroom deputy whetherthatDefendantrequires the aid ofan interpreter.

   AIIpadies are underan additionalinstruction to notify the Coud,atIeast24 hours prior

   to any hearings ortrial,ifan interpreteris required.

           12.   Arrangem ents forappropriate clothing forDefendants in custody m ustbe

   made with the Bureau of Prisons atIeastseven (7)days priorto the scheduled trial
   date.

           13. LocalRule 7.1(a)(2) requires that certain motions be accompanied by
   proposed orders,which m ust be filed as attachm ents to those m otions. Fudherm ore,

   pursuantto CM/ECF adm inistrative procedures,proposed orders shallbe subm itted to

   the courtby e-m ailto Singhal@ flsd,uscouds.gov in W ord format.
           DO NE AND O RDERED in Cham bers,FortLauderdale,Florida,this 29th day of

   A pril2022.

                                                                 N
                                                                         '
                                                          ,
                                                                         :.

                                                   RM G SINGH
                                                   UNITED STATES DISTRICT JUDGE
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   Copies furnished to counselvia CM /ECF
